             IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF NORTH CAROLINA


United States of America,
                                             No. 12-cv-1349
                      Plaintiff;
        v.                                   UNITED STATES’ MOTION FOR
                                             SUMMARY JUDGMENT
Terry Johnson, in his official capacity as
Alamance County Sheriff,
                      Defendant.




                          Exhibit 3




  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 1 of 37
                        MEMORANDUM OF AGREEMENT

This Memorandum of Agreement (MOA) constitutes an agreement between the United States
Department of Homeland Security (DHS). United States Immigration and Customs Enforcement
(ICE). Alamance County. North Carolina (County). and the Sheriffs Office of Alamance
County, North Carolina (ACSO) under which ICE authorizes nominated. trained and certified
personnel in the ACSO to perform certain immigration enforcement functions as specified
herein. The ACSO represents the Alamance County in the implementation and administration of
this MOA. It is the intent of the parties that this agreement will result in enhanced capacity to
deal with immigration violators in Alamance County.

I.      PURPOSE

The purpose of this MOA is to set forth the tenns and conditions for authorization of selected
ACSO personnel (participating ACSO personnel) to perform certain functions of an immigration
officer within Alamance County, and how those participating ACSO personnel will be
nominated, trained, authorized and supervised in performing the immigration enforcement
functions specified in this MOA. Nothing herein shall otherwise limit the jurisdiction, powers
normally possessed by participating ACSO personnel in their capacity as employees of ACSO.
However, the exercise of immigration enforcement authority granted under this MOA to
participating ACSO personnel shall occur only as provided in this MOA and shall be limited to
activities in the County.

II.      AUTHORITY

Section 287(g) of the Immigration and Nationality Act, 8 U.S.C. § 1357(g), as amended by the
Homeland Security Act of 2002, Public Law 107-276, authorizes the Secretary of the
Department of Homeland Security to enter into written agreements with a State or any political
subdivision of a State so that qualified personnel may perform certain functions of an
immigration officer. This MOA constitutes such a written agreement.

III.     POLICY

This MOA sets forth the scope of the immigration officer functions that DHS is authorizing the
participating ACSO personnel to perform. It sets forlh with specificity the duration of the
authority conveyed and the specific lines of authority, il1cluding the requirement that
participating ACSO Personnel shall be subject to ICE supervision while performing immigration
related duties pursuant to this MOA. For the purposes of this MOA, ICE officers will provide
supervision for participating ACSO personnel only as to immigration enforcement functions.
ACSO retains supervision of all other aspects of the employment of and perforIllance of duties
by participating ACSO personnel.

Before participating ACSO personnel will be authorized to perform immigration officer
functions granted under this MOA, they must successfully complete mandatory training in the
enforcement of federal immigration laws and policies as provided by DHS instructors and pass




       Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 2 of 37
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examinations equivalent to those given to ICE officers. This MOA further sets forth
requirements for regular review of this MOA.

Only Participating ACSO personnel have authority pursuant to this MOA to conduct the
immigration officer functions enumerated in this MOA.

The ICE and ACSO points of contact for purposes of this MOA are identified in Appendix A.

IV.         DESIGNATION OF FUNCTIONS

For the purposes of this MOA, the functions that may be performed by participating ACSO
personnel with their associated authorities are indicated below:



     AUTHORITY                                                FUNCTIONS

      •      The power to interrogate any alien or            • Interrogate in order to determine
             person believed to be an alien as to his right     probable cause for an immigration
             to be or remain in the United States. INA §        violation
             287(a)(I) and 8 C.F.R. 287.5(a)(I)

      •      The power and authority to administer oaths      • Complete required criminal alien
II           and to take and consider evidence. INA §            processing. to include
             287(b) and 8 C.F.R. 287.5(a)(2)                   . fingerprinting, photographing, and
                                                                 interviewing for ICE supervisor
                                                                 review

                                                              • Prepare affidavits and take sworn
                                                                Statements


      •      The power to issue detainers. 8C.F.R.            • Prepare immigration detainers and 1-
             287.7                                              213, record of
                                                                Deportabiellnadmissible Alien for
                                                                aliens in categories established by
                                                                ICE supervisors




          Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 3 of 37
 ~UTHOR[TY                                                  FUNCTIONS
     .            The authority to prepare charging         •    Prepare a Notice to
 I                Documents: INA § 239; 8 C.F.R.
                  239.J; INA § 238; 8 C.F.R238.1;
                                                                 Appear (NTA) or other removal
                                                                 charging document, as
                  INA § 241 (a)(5); 8 C.F.R 241.8; INA           appropriate, including Notice of
                  § 235(b)(I); 8 C.F.R. 235.3                    Intent to Administratively
                                                                 Remove, Notice of Intent to
                                                                 Reinstate Removal, or Notice of
                                                                 Intent to Expeditiously
                                                                 Remove for signature of ICE
                                                                 officer for aliens in categories
                                                                 established by ICE supervisors

            Transportation of aliens. INA § 236
     •                                                       •       Transport Aliens




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 In the absence of a written agreement to the contrary, the policies and procedures to be utilized
 by the participating ACSO personnel in exercising these authorities shall be DHS policies and
 procedures. However, when engaged in immigration enforcement activiti~s, no participating
 ACSO personnel will be expected or required to violate or otherwise fail to maintain ACSO
 standards of conduct, or be required to fail to abide by restrictions or limitations as may
 otherwise be imposed by law, or ACSO roles, orders, standards, or policies.

 -The parties understand that ACSO will not continue to detain an alien after that alien is eligible
. for release from ACSO custody in accordance with applicable law and ACSO policy, except
  for a period of up to 48 hours, excluding Saturday, Sunday and any holiday, pursuant to a DHS
  detainer issued in accordance with 8 C.F.R. § 287.7.




         Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 4 of 37
V.      NOMINATION OF PERSONNEL

The Sheriff of Alamance County will nominate to ICE candidates for initial training and
certification under this MOA.

For each candidate nominated, ICE may request any infonnation necessary for a background
check and evaluation for suitability to participate in the enforcement of immigration authorities
under this MOA. All candidates must be United States citizens. All candidates must have at
least two years' work experience as sworn law enforcement officers. No candidate will be
married to a person illegally present within the United States or knowingly have family or any
other associations which could adversely impact their ability to perform ICE functions under
this MOA. All candidates must be approved by ICE and must be able to qualify for
appropriate security clearances. Should a candidate not be approved, a substitute candidate
may be nominated, so long as the substituted nomination occurs in a timely manner and does
not delay the start of training. Any future expansion in the number of participating ACSO
personnel or scheduling of additional training classes may be based on an oral agreement of
the parties, but will be subject to all the requirements of this MOA.

ACSO will endeavor not to reassign approved candidates from their primary place of duty for
a period of at least two years following training and certification of approved candidates as
outlined in this MOA. Further, to the extent possible and practicable, ACSO will give ICE
sixty-days (60) notice of its intent to reassign any approved candidate.

VI.      TRAINING OF PERSONNEL

ICE will provide appropriate training of nominated ACSO persoIUlel tailored to the designated
immigration functions and types of cases typically encountered by ACSO persoIUlel. Training
of such ACSO personnel will be at a mutually designated site, utilizing ICE designated,
curriculum and competency testing. Training will include presentations on this agreement and
elements of this MOA, the scope of immigration officer authority, cross-cultural issues, the
ICE Use Of Force Policy, civil rights law, the Department of Justice "Guidance Regarding The
Use of Race By Federal Law Enforcement Agencies" dated June 2003, public outreach and
complaint procedures, liability, and other relevant issues. ICE will provide the instructors and
all training materiafs. ACSO is responsible for the salaries and benefits, including overtime,
for any of its personnel being trained or performing duties under this MOA. ACSO will cover
the costs of all candidates' travel, housing and per diem while involved in training required for
participation in this agreement.

All nominated and accepted personnel will receive specific training regarding their obligations
under federal law and the Vienna Convention on Consular Relations to make proper
notification upon the arrest or detention of a foreign national.




      Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 5 of 37
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Approximately one year after the participating ACSO personnel are trained and certified,
unless any party terminates this MOA pursuant to Section XVII below, ICE may provide such
personnel with additional updated training on relevant administrative, legal and operational
issues related to the performance of immigration officer functions. Local training on relevant
administrative, legal and operational issues will be provided on an ongoing and timely basis by
ICE supervisors or designated team leader.

VII. CERTIFICATION AND AUTHORIZATION

The ICE Training Division will certify in writing to the ICE Special Agent in Charge in
Atlanta, Georgia, the names of those ACSO personnel who successfully complete training and
pass all required testing. Upon receipt of the ICE Training Division certification, the Special
Agent in Charge, Atlanta, Georgia, will provide to the participating ACSO personnel a signed
authorization to perform specified functions ofan immigration officer until termination of this
agreement. ICE will also provide a copy of the authorization to ACSO. The ICE staff as
addressed in Section IX below will evaluate the activities of all participating ACSO personnel
with regard to ICE functions.

Authorization of any participating ACSO personnel to act pursuant to this MOA may be
revoked at any time by ICE or ACSO. Such revocation will require immediate notification by
the revoking party to ICE or ACSO, as the situation requires. The Sheriff of ACSO or his
Chief Deputy and the ICE Special Agent in Charge in Atlanta, Georgia or the Resident Agent
in Charge in Cary, North Carolina, will be responsible for notification of the appropriate
personnel in their respective agencies. If any participating ACSO personnel become the subject
of a complaint of any sort that may result in that individual receiving employer discipline or
becoming the subject of a criminal investigation, ACSO shall, to the extent allowed by state
law~ immediately notify ICE of the complaint. The resolution of the complaint shall be
promptly reported to ICE. Complaints regarding exercise of immigration enforcement
authority by any participating ACSO personnel shall be handled in accordance with Section
XII below. The termination of this MOA shall constitute revocation of all immigration
enforcement authorizations conveyed hereunder.

VIII.   COSTS AND EXPENDITURES

Participating ACSO personnel will carry out designated functions at ACSO expense, including
salaries and benefits, local transportation, and official issue material. ICE will provide training
personnel, training materials and supervision.

ICE aggress to provide the necessary technological support and software and software updates
of those systems tied directly into ICE or other federal databases used by ICE to accomplish
complete investigations.




    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 6 of 37
This MOA does not constitute an obligation to expend funds by either party. Unless otherwise
agreed in writing. each party shall bear any costs it incurs in relation to this MOA. ICE
expenditures will be subject to federal budgetary processes and availability of funds pursuant
to applicable laws and regulations. The parties expressly acknowledge that this MOA in no
way implies that Congress will appropriate funds for such expenditures.

IX.    ICE SUPERVISION

Immigration enforcement activities of the participating ACSO personnel will be supervised
and directed by ICE in Cary, North Carolina. Participating ACSO personnel cannot perform
any immigration officer functions pursuant to the authorities granted under this MOA except
when working under the supervision of ICE. Participating ACSO personnel shall give notice
to the ICE as soon as practicable after. and in all cases within 24 hours. of any detainer issued
under the authorities set forth in this MOA. ICE will review the actions of participating ACSO
personnel on an ongoing basis to ensure compliance with the requirements of the immigration
laws and procedures and to assess the need for additional training or guidance for any
individual.

For the purposes of this MOA, ICE will provide supervision of participating ACSO personnel
only as to immigration enforcement functions. ACSO retains supervision of all other aspects
of the employment of and performance of duties by participating ACSO personnel or any
ACSO personnel in the process of training hereunder.

If a conflict arises between an or4er and direction provided by the ICE supervisory officer and
ACSO rules, standards, orders or policies, the conflict shall be promptly reported to the ICE
Resident Agent in Charge in Cary, NC, and the Sheriff of ACSO or his designee a4) soon ac;
circumstances safely allow the concern to be raised. The Resident Agent in Charge and the
Sheriff of ACSO or his designee shall attempt to resolve the conflict.

X.     LIABILITY AND RESPONSIBILITY

ICE and ACSO understand and agree that except as otherwise noted in this MOA and allowed
by federal law, each will be responsible for their own liability and bear their own costs with
regards to property and resources, or personnel expenses incurred by reason of death, injury or
incidents giving rise to liability.

Participating ACSO personnel shall not be treated as federal employees except for purposes of
the Federal Tort Claims Act, 28 U.S.C. §§ 267 I-2680, and worker's compensation claims, 5
U.S.C. § 8101 et seq. when performing a function as authorized by this MOA, 8 U.S.C. §
1357(g)(7). It is the understanding of the parties to this MOA, that participating ACSO
personnel will have the same immunities and defenses as do ICE officers from personal
liability from tort suits based on actions conducted in compliance with this MOA, 8 U.S.C. §




      Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 7 of 37
1357(g)(8). ICE will not be responsible for any intentional misconduct on the part of any
Participating ACSO personnel.

Participating ACSO personnel who are named as defendants in litigation arising from activities
carried out under this MOA may request representation by the U.S. Department of Justice.
Such requests must be made in writing directed to the Attorney General of the United States,
and be presented to the Office of the Chief Counsel, at 77 Forsyth Street, Room 385, Atlanta,
Georgia, 30303. Any request for representation must be clearly marked on each written
communication that the information is "Subject to Attorney-Client Privilege." The Chief
Counsel will forward the individual's request, together with a memorandum outlining the
factual basis underlying the event(s) at issue in the lawsuit to the ICE Office of the Principal
Legal Advisor, which will forward the request, the factual memorandum, and a statement of
the views of ICE with respect to whether such representation would be in the interest of the
United States, to the Director of the Constitutional and Specialized Torts Staff ofthe Civil
Division of the Department of Justice.

ACSO agrees to cooperate with any federal investigation related to this MOA to the full extent
of its available powers. It is understood that information provided by any ACSO personnel
under threat of disciplinary action in an administrative investigation cannot be used against
that individual in subsequent criminal proceedings, consistent with Garrity v. New Jersey, 385
U.S. 493. 87 S.Ct. 616, 17 L.Ed.2d 526 (1967).                .

The Supreme Court's decision in Giglio \I. UniledStates, 405 U.S. 150.92 S.Ct. 763. 31
L.Ed.2d 104 (1972), relates to disclosure of potential impeachment information about potential
witnesses or affiants in a criminal case or investigation. See a/so United States \I. Henthorn,
931 F.2d 29 (9th Cir. 1991). As the activities of participating ACSO personnel under this
MOA are undertaken under federal authority, to the extent participating ACSO personnel are
performing services hereunder, unless specifically provided otherwise herein, participating
ACSO personnel will comply with federal standards and guidelines relating to such cases.

XI.  CIVIL RIGHTS STANDARDS AND PROVISION OF INTERPRETATION
SERVICES

Pursuant to this MOA, participating ACSO personnel will perform certain federal immigration
enforcement function'l. In doing so, these participating ACSO personnel are bound by all
federal civil rights statutes and regulations, as well as policy directives, including the U.S.
Department of Justice "Guidance Regarding The Use Of Race By Federal Law Enforcement
Agencies" dated June 2003.

Participating ACSO personnel will provide an opportunity for subjects with limited English
language proficiency to request an interpreter. Qualified foreign language interp~eters will be
provided by ACSO as needed.                                 .




     Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 8 of 37
XII.     COMPLAINT PROCEDURES

The complaint reporting and resolution procedure for allegations of misconduct by
participating ACSO personnel or for activities undertaken under the authority of this MOA is
included at Appendix B.

XIII.      REQUIRED REVIEW OF ACTIVITIES

The ICE Assistant Secretary and the Sheriff of ACSO shall establish a steering committee that
will meet periodically to review and assess the immigration enforcement activities that have
been conducted pursuant to this MOA. The steering committee will meet periodically in North
Carolina at locations to be agreed upon by the parties or by teleconference. These reviews are
intended to assess the use made of immigration enforcement authority and to ensure
compliance with the terms of this MOA. Steering committee participants will be supplied with
specific information on case reviews, individual participants' evaluations, complaints filed,
media coverage, and, to the extent practicable and available, statistical information on
increased immigration enforcement activity in Alamance County. An initial review meeting
will be held no later than nine months after certification of the initial class of Participating
ACSO personnel under Section VII, above.

XIV.        COMMUNITY OUTREACH

ACSO will, in its discretion, engage in community outreach with individuals and organizations
expressing an interest in this MOA. ICE may participate in such outreach upon ACSO request.

xv.         RELATIONS WITH THE NEWS MEDIA

As part of its commitment to the communities it serves, ACSO may at any time and in its
discretion, communicate the intent, focus, and purpose of this agreement to the media,
organizations and groups expressing an interest in the law enforcement activities to be engaged
in under this MOA.

The parties hereto agree that ACSO and ICE will coordinate any release of information to the
media regarding specific actions taken by any party under this MOA. The points of contact for
ICE and ACSO for this purpose can be found at Appendix C.

XVI.        MODIFICATION OF THIS MOA .

Any modifications to this MOA must be proposed in writing and approved by the signatories.

XVII.        DURATION AND TERMINATION OF THIS MOA




        Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 9 of 37
This MOA will be in effect from the date of signing until tenninated by any party hereto.
Any party to this MOA, upon sixty·days (60) prior written notice to the other parties, may
terminate it at any time. Such notice shall be delivered personally or by certified or registered
mail. Notice oftennination or suspension by ICE shall be given to the Sheriff of ACSO.
Notice of termination or suspension by ACSO shall be given to the ICE Resident Agent in
Charge in Cary, North Carolina.

In the event of an unforeseen emergency or other exigent circumstances, ICE or ACSO may,
upon written notice to the other, temporarily suspend activities under this MOA when resource
constraints or competing priorities necessitate. ICE and the ACSO must agree in writing to
begin activities under this MOA after such suspension.

XVII. OTHER PROVISIONS

This MOA is an internal arrangement between the Parties. Except as provided for in Section
X, this MOA does not, is not intended to, shall not be construed to, and may not be relied upon
to create any rights, substantive or procedural, enforceable at law by any person in any matter,
civil or criminal.

Nothing in this MOA is intended to conflict with current law or regulation or the directives of
Parties. Ira term of this MOA is inconsistent with such authority, then the term shall be
invalid, but the remaining tenns and conditions of this MOA shall remain in full force and
effect.

By signing this MOA. each party represents it is fully authorized'to enter into this agreement
and accepts the tenns, responsibilities, obligations and limitations of the Agreement, and
agrees to be bound thereto to the fullest extent allowed by law.

Julie L. Myers                                        Larry Sharpe, Chainnan,
Assistant Secretary                                   Board of Commissioners
U.S. hruni~~~/~ Customs Enfon:ement                   ~~

Date: ~ Yk1~                            L            Daf:r /~~~
                      <:~~-
                       TerryS.~eriff


                                                0'
                       Alamance County, North Carolina

                       Date:   If) -0;2. -




   Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 10 of 37
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Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 11 of 37
                                        APPENDIXB

                                COMPLAINT PROCEDURE


This MOA is a joint agreement between DHSIICE, the County and the Alamance County
Sherifrs Office (ACSO); in which selected ACSO personnel are authorized to perfonn
immigration enforcement duties in specific situations under federal authority. As such, the
training, supervision, and performance of participating ACSO personnel pursuant to the MOA,
as well as the protections for individuals' civil and constitutional rights, are to be monitored.
Part of that monitoring will be accomplished through these complaint reporting and resolution
procedures, which the parties to the MOA have agreed to follow.

The MOA sets forth the process for designation, training and certification of designated ACSO
personnel to perform certain immigration enforcement functions specified herein. Complaints
filed against those personnel in the course of their non-immigration duties will remain the
domain of ACSO and be handled in accordance with ACSO policies and procedures. The
ACSO will also handle complaints filed against ACSO personnel who may exercise
immigration authority, but who are not designated and certified under this MOA. The number
and type of the latter complaints will be monitored by the steering committee established under
Section XIII of the MOA.

In order to simplify the process for the public, complaints against participating ACSO
personnel relating to their immigration enforcement actions can be reported in a number of
ways. The ICE Headqual1ers Office ofProfessi~nal Responsibility (ICE OPR) and the ACSO
Office of Professional Compliance will coordinate complaint receipt and investigation. The
ICE OPR will forward complaints to the Department of Homeland Security's Office of
Inspector General (DHS OIG) as appropriate for review, and ensure notification as necessary
to the U.S. Department of Justice Civil Rights Division (DOJ CRD).

The ICE OPR will coordinate complaints related to participating ACSO personnel with the
ACSO OPC as detailed below. Should circumstances warrant investigation of a complaint by
the DHS OIG or the DOJ CRO, this will not preclude the DHS OIG, DOJ CRD or ICE OPR
from conducting the investigation in coordination with ACSO OPC, when appropriate.

The ICE OPR will adhere to established procedures relating to reporting and resolving
allegations of employee misconduct, and the ACSO OPC will follow applicable ACSO
policies and procedures, personnel rules, North Carolina statutes and any other guidelines
established for operation of the ACSO.




    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 12 of 37
I.    Complaint Reporting Procedures

A. Dissemination of Complaint Reporting Procedures

      Complaint reporting procedures shall be disseminated as appropriate by the ACSO
      within facilities under its jurisdiction (in English and other languages as appropriate) in
      order to ensure that individuals are aware of the availability of such procedures.

B. Acceptance of Complaints

      Complaints will be accepted from any source (e.g.• ICE. ACSO, personnel operating
      under the authority of this MOA, and the public).

C. Reporting Mechanisms

       Complaints can be reported to federal authorities as follows:

             I. Telephonically to the ICE OPR at the Joint Intake Center (JIC) in
             Washington D.C. at the toll-free number 1-877-246-8253. or

             2. Telephonically to the Office of the Special Agent in Charge of the ICE OPR
             office in Plantation, Florida, at 954-327-4100; or;

              3. Via mail as follows:

               u.s. Department of Homeland Security
               u.S. Immigration and Customs Enforcement
             . Office of Professional Responsibility
               425 I Street, NW
               Room 3260
               Washington, D.C. 20536

             u.S. Immigration and Customs Enforcement
             Office of Professional Responsibility
             425 I Street, NW
             Room 3260
             Washington, D.C. 20536




     Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 13 of 37
Complaints can also be referred to and accepted by any of the following ACSO entities:

               I. The Sheriff of Alamance County.
                  Alamance County Sheriffs Office
                  109 South Maple Street
                  Graham, North Carolina 27253
                  (336) 570-6300

               2. Alamance County Sheriff's Office
                  Division of Professional Standards (DPS)
                  109 South Maple Street
                  Graham, North Carolina 27253
                  Attention: Major Ron Parrish
                  Phone: (336) 570-6311

               3. The supervisor of any participating ACSO personnel

D. Review of Complaints

1. All complaints (written or oral) directly reported to ACSO, which involve activities
connected to immigration enforcement activities by ACSO authorized under this MOA, will be
reported to the ICE OPR. The ICE OPR will verify Participating ACSO Personnel status
under the MOA with the assistance of the Resident Agent in Charge of the ICE Office of
Investigations in Cary, North Carolina.

2. Complaints received by any ICE entity will be reported directly to the ICE OPR as per
existing ICE policies and procedures and shall also be reported to ACSO DPS by the Resident
Agent in charge of the ICE Office in Cary, North Carolina.

For both of the above, the ICE OPR, as appropriate, will make an initial determination
regarding DHS investigative jurisdiction and refer the complaint to the appropriate office for
action as soon as possible, given the nature of the complaint.

Complaints reported directly to the ICE OPR will be shared with the Sheriff of ACSO or his
designee, including ACSO DPS, anytime the complaint involves ACSO personnel. Both
offices will then coordinate appropriate investigative jurisdiction, which may include initiation
of ajoint investigation to resolve the issue(s).

II. Complaint Resolution Procedures

Upon receipt of any complaint, the ICE OPR will undertake a complete review of each




    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 14 of 37
complaint in accordance with existing ICE allegation criteria and reporting requirements. As
stated above, the ICE OPR will adhere to existing ICE reporting requirements as they relate to
the DHS OIG and/or the DO] CRT. Complaints will be resolved using the existing
procedures, supplemented as follows:

A. Referral of Complaints to ACSO DPS

The ICE OPR will refer complaints, as appropriate, involving ACSO personnel to the ACSO
DPS for resolution. The ACSO DPS will inform ICE OPR of the disposition and resolution of
any complaints referred by ICE OPR.

B. Interim Action Pending Complaint Resolution

Whenever any participating ACSO personnel are under investigation and subject to
interrogation by ACSO for any reason that could lead to disciplinary action, demotion, or
dismissal, the requirements of all applicable ACSO Manuals or Orders of Policy and Procedure
shall be honored and shall be deemed controlling. If appropriate, an individual may be
removed fro~ participation in the activities covered under the MOA pending resolution of an
inquiry.

C. Time Parameters for Resolution of Complaints

It is expected that any complaint received will be resolved within 90 days; however this will
depend upon the nature and complexity of the substance of the complaint.

D. Notification of Resolution of a Complaint

ICE OPR will coordinate with the ACSO DPS to ensure notification as appropriate to the
subject(s) of a complaint, regarding the resolution of the complaint.




    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 15 of 37
                                    APPENDIXC

                   PUBLIC INFORMATION POINTS OF CONTACT


Pursuant to Section XV of the MOA, the signatories agree to coordinate any release of
information to the media regarding actions taken under this MOA. The points of contact for
coordinating such activities are:

For ACSO:

Sheriff Terry Johnson
Alamance County Sherifrs Office
109 South Maple Street
Graham, North Carolina 27253
(336) 570-6311

For ICE:

Public Affairs Officer
Office of Public Affairs and Internal Communication
U.S. Department of Homeland Security
U.S. Immigration and Customs Enforcement
425 I Street, NW, Room 7232
Washington, DC 20536
(202) 514-2648




    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 16 of 37
                           MEMORANDUM OF AGREEMENT

  This Memorandum of Agreement (MOA) constitutes an agreement between United States
  Immigration and Customs Enforcement (ICE), a component of the Department of Homeland
  Security (DHS), and the Sheriffs Office of Alamance County, North Carolina, hereinafter
  referred to as the "Law Enforcement LEA" (LEA), pursuant to which ICE delegates nominated,
  trained, certified, and authorized LEA personnel to perform certain immigration enforcement
  functions as specified herein. It is the intent of the parties that these delegated authorities will
  enable the LEA to identify and process immigration violators and conduct criminal
  investigations under ICE supervision, as detailed herein, within the confines of the LEA'S area
  of responsibility. The LEA and ICE enter into this MOA in good faith and agree to abide by the
  terms and conditions contained herein.

 I. PURPOSE

  The purpose of this collaboration is to enhance the safety and security of communities by
  focusing resources on identifying and processing for removal criminal aliens who pose a threat to
  public safety or a danger to the community. This MOA sets forth the terms and conditions
  pursuant to which selected LEA personnel (participating LEA personnel) will be nominated,
  trained, and approved by ICE to perform certain functions of an immigration officer within the
  LEA'S area of responsibility. Nothing contained herein shall otherwise limit the jurisdiction and
  powers normally possessed by participating LEA personnel as members of the LEA. However,
  the exercise of the immigration enforcement authority granted under this MOA to participating
  LEA personnel shall occur only as provided in this MOA.

II. AUTHORITY

  Section 287(g) of the Immigration and Nationality Act (INA), codified at 8 U.S.C. § 1357(g)
  (1996), as amended by the Homeland Security Act of 2002, Public Law 107-296, authorizes the
  Secretary ofDHS, acting through the Assistant Secretary of ICE, to enter into written agreements
  with a State or any political subdivision of a State so that qualified personnel can perform certain
  functions of an immigration officer. This MOA constitutes such a written agreement.

III. POLICY

  This MOA sets forth the following: 1) the functions of an immigration officer that DHS is
  authorizing the participating LEA personnel to perform; 2) the duration of the authority
  conveyed; 3) the supervisory requirements, including the requirement that participating LEA
  personnel are subject to ICE supervision while performing immigration-related duties pursuant
  to this MOA; and 4) program information or data that the LEA is required to collect as part of
  the operation of the program. For the purposes of this MOA, ICE officers will provide
  supervision for participating LEA personnel only as to immigration enforcement and/or
  immigration investigative functions as authorized in this MOA. LEA retains supervision of all
  other aspects of the employment and performance of duties by participating LEA personnel.




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    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 17 of 37
  The LEA is expected to pursue to completion all criminal charges that caused the alien to be
  taken into custody and over which the LEA has jurisdiction.

  ICE will assume custody of an alien 1) who has been convicted of a State, local or Federal
  offense only after being informed by the alien's custodian that such alien has concluded service
  of any sentence of incarceration; 2) who has prior criminal convictions and when immigration
  detention is required by statute; and 3) when the ICE Office of Detention and Removal
  Operations (DRO) Field Office Director (FOD) or his designee decides on a case-by-case basis
  to assume custody of an alien who does not meet the above criteria.

IV. DESIGNATION OF AUTHORIZED FUNCTIONS

  Approved participating LEA personnel will be authorized to perform immigration officer
  functions outlined in 287(g)(l) of the INA regarding the investigation, apprehension, or
  detention of aliens in the United States, subject to the limitations contained in the Standard
  Operating Procedures (SOP) in Appendix D to this MOA.

V. DETENTION AND TRANSPORTATION ISSUES

  ICE retains sole discretion in determining how it will manage its limited detention resources and
  meet its mission requirements. ICE Field Office Directors may, in appropriate cases, decline to
  detain aliens whose detention is not mandated by Federal statute. ICE and the LEA will prioritize
  the detention of aliens in conformity with ICE detention priorities. ICE reserves the right to
  detain aliens to the extent provided by law.

  If ICE deems it necessary, the LEA may enter into an Inter-Governmental Service Agreement               I


  (lGSA) with ICE pursuant to which the LEA will provide, for a reimbursable fee, detention of
  incarcerated aliens in LEA facilities, upon the completion of their sentences. If ICE and the LEA
  enter into an IGSA, the LEA must meet the applicable ICE National Detention Standards.

  In addition to detention services, if ICE deems it necessary, the IGSA may include a
  transportation component for the transportation of all incarcerated aliens for a reimbursable fee.
  Under a transportation IGSA, the LEA will transport all incarcerated aliens in its facilities who
  are subject to removal, upon completion of their sentences, to a facility or location designated by
  ICE. Reimbursement to the LEA will occur only when the LEA obtained prior approval of ICE
  for the transportation. ICE will not reimburse if the LEA did not obtain prior approval from ICE.

  The parties understand that the LEA will not continue to detain an alien after that alien is eligible
  for release from the LEA's custody in accordance with applicable law and LEA policy, except
  for a period of up to 48-hours, excluding Saturdays, Sundays, and any Federal holiday, pursuant
  to an ICE detainer issued in accordance with 8 C.F .R. § 287.7, absent an IGSA in place as
  described above.




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    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 18 of 37
VI. NOMINATION OF PERSONNEL

  The LEA will nominate candidates for ICE training and approval under this MOA. All
  candidates must be United States citizens. The LEA is responsible for conducting a criminal
  background check within the last five years for all nominated candidates. Upon request, the
  LEA will provide all related information and materials it collected, referenced, or considered
  during the criminal background check for nominated candidates to ICE.

  In addition to the LEA background check, ICE will conduct an independent background check
  for each candidate. This background check requires all candidates to complete a background
  questionnaire. The questionnaire requires, but is not limited to, the submission of fingerprints, a
  personal history questionnaire, and the candidate's disciplinary history (including allegations of
  excessive force or discriminatory action). ICE reserves the right to query any and every national
  and intemationallaw enforcement database to evaluate a candidate's suitability to participate in
  the enforcement of immigration authorities under this MOA. Upon request by ICE, the LEA will
  provide continuous access to disciplinary records of all candidates along with a written privacy
  waiver signed by the candidate allowing ICE to have continuous access to his or her disciplinary
  records.

  The LEA agrees to use due diligence to screen individuals nominated for training and agrees that
  individuals who successfully complete the training under this MOA will perform immigration
  officer functions authorized under 287(g) of the INA for a minimum of two years. If LEA
  personnel under consideration are in a bargaining unit, that LEA must, prior to the execution of
  the MOA, have an agreement with the exclusive representative that allows the designated
  officers to remain in their position for a minimum of two years. This requirement may be lifted
  solely at the discretion of ICE for good cause in situations that involve, among other things,
  imminent promotion, officer career development, and disciplinary actions. Failure by the LEA to'
  fulfill this commitment could jeopardize the terms of this MOA, and ICE reserves the right,
  under these circumstances, to take appropriate action as necessary, including terminating this
  MOA.

  All LEA candidates shall have knowledge of and have enforced laws and regulations pertinent to
  their law enforcement activities and their jurisdictions.

  In the task force model setting, all LEA task force officer candidates must be sworn/certified
  officers, must possess arrest authority, must be authorized to carry firearms, and must be
  employed full-time by their respective LEA. Each LEA candidate must certify that he/she is not
  prohibited from carrying a firearm pursuant to State or Federal law, including, but not limited to,
  the Lautenberg Amendment (18 U.S.C. § 922(g)(8) or (9)).

  All LEA candidates must be approved by ICE and must be able to qualify for access to
  appropriate DRS and ICE databases. Should a candidate not be approved, a qualified substitute
  candidate may be submitted. Such substitution must occur without delaying the start of training.
  Any future expansion in the number of participating LEA personnel or scheduling of additional
  training classes may be based on an oral agreement between the parties and is subject to all the
  requirements of this MOA and the accompanying SOP.




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    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 19 of 37
VII.     TRAINING OF PERSONNEL

       ICE will provide participating LEA personnel with Immigration Authority Delegation Program
       (lADP) training consistent with the accompanying SOP.

VIII. CERTIFICATION AND AUTHORIZATION

       Before participating LEA personnel receive authQrization to perform immigration officer
       functions granted under this MOA, they must successfully complete the IADP training, as
       described in the accompanying SOP. The lADP will be provided by ICE instructors who will
       train participating LEA personnel in the enforcement of Federal immigration laws and policies,
       the scope of the powers delegated pursuant to this MOA and civil rights and civil liberties
       practices. Participating LEA personnel must pass an ICE examination after instruction. Upon
       completion of training, those LEA personnel who pass the ICE examinations shall be deemed
       "certified" under this MOA.

       ICE will certify in writing the names of those LEA personnel who successfully complete training
       and pass all required testes). Upon receipt of the certification, the ICE Special Agent in Charge
       (SAC) and/or FOD in the Atlanta Field Office will provide the participating LEA personnel a
       signed authorization letter allowing the named LEA personnel to perform specified functions of
       an immigration officer for an initial period of one year from the date of the authorization. ICE
       will also provide a copy of the authorization letter to the LEA. Only those certified LEA
       personnel who receive authorization letters issued by ICE and whose immigration enforcement
       efforts are subject to a designated ICE supervisor may conduct immigration officer functions
       described in this MOA.

       Along with the authorization letter, ICE will issue the certified LEA personnel official
       Delegation of Authority credentials. Upon receipt of the Delegation of Authority credentials,
       LEA personnel will provide ICE a signed receipt of the credentials on the ICE Record of Receipt
       - Property Issued to Employee (Form G-570).

       Authorization of participating LEA personnel to act pursuant to this MOA may be withdrawn at
       any time and for any reason by ICE or the LEA, and must be memorialized in a written notice of
       withdrawal identifying an effective date of withdrawal and the personnel to which the
       withdrawal pertains. Such withdrawal may be effectuated immediately upon notice to the other
       party. The LEA and the ICE FOD in the Atlanta Field Office will be responsible for notification
       of the appropriate personnel in their respective agencies. The termination of this MOA shall
       constitute immediate revocation of all immigration enforcement authorizations delegated
       hereunder.

       The LEA will immediately notify ICE when any certified and/or authorized LEA personnel is no
       longer participating in the 287(g) program so that appropriate action can be taken, including
       termination of user account access to DHS and ICE systems.




                                                      4

         Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 20 of 37
IX. COSTS AND EXPENDITURES

  Participating agencies are responsible for personnel expenses, including, but not limited to,
  salaries and benefits, local transportation, and official issue material. The LEA is responsible for
  the salaries and benefits, including overtime, of all of its personnel being trained or performing
  duties under this MOA and of those personnel performing the regular functions of the
  participating LEA personnel while they are receiving training. The LEA will cover the costs of
  all LEA personnel's travel, housing, and per diem affiliated with the training required for
  participation in this MOA. ICE is responsible for the salaries and benefits of all of its personnel,
  including instructors and supervisors.

  If ICE determines the training provides a direct service for the Government and it is in the best
  interest of the Government, the Government may issue travel orders to selected personnel and
  reimburse travel, housing, and per diem expenses only. The LEA remains responsible for paying
  salaries and benefits of the selected personnel.

  ICE will provide instructors and training materials.

  Subject to the availability of funds, ICE will be responsible for the purchase, installation, and
  maintenance of technology (computerlIAFISlPhoto and similar hardware/software) necessary to
  support the investigative functions of participating LEA personnel at each LEA facility with an
  active 287(g) program. Only participating LEA personnel certified by ICE may use this
  equipment. ICE will also provide the necessary technological support and software updates for
  use by participating LEA personnel to accomplish the delegated functions. Such hardware,
  software, and other technology purchased or provided by ICE shall remain the property of ICE
  and shall be returned to ICE upon termination of this agreement, or when deemed necessary by
  the ICE FOD in the Atlanta Field Office.

  The LEA is responsible for covering all expenses at the LEA facility regarding cabling and
  power upgrades. If the connectivity solution for the LEA is determined to include use of the
  LEA's own communication lines - (phone, DSL, site owned T-IIT-3, etc), the LEA will be
  responsible for covering any installation and recurring costs associated with the LEA line.

  The LEA is responsible for providing all administrative supplies, such as paper, toner, pens,
  pencils, or other similar items necessary for normal office operations. The LEA is also
  responsible for providing the necessary security equipment, such as handcuffs, leg restraints and
  flexi cuffs, etc.

  Also, if ICE deems it necessary, the LEA will provide ICE, at no cost, with an office within each
  participating LEA facility for ICE supervisory employees to work.




                                                   5


    Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 21 of 37
 X. ICE SUPERVISION

  Immigration enforcement activities conducted by the participating LEA personnel will be
  supervised and directed by ICE supervisory officers or designated ICE team leaders.
  Participating LEA personnel are not authorized to perform immigration officer functions except
  when working under the supervision or guidance of ICE. To establish supervisory and other
  administrative responsibilities, the FOD will specify the supervisory and other administrative
  responsibilities in an accompanying agreed-upon SOP.

  Participating LEA personnel shall give timely notice to the ICE supervisory officer within 24
  hours of any detainer issued under the authorities set forth in this MOA. The actions of
  participating LEA personnel will be reviewed by ICE supervisory officers on an ongoing basis to
  ensure compliance with the requirements of the immigration laws and procedures and to assess
  the need for individual training or guidance.

   For purposes of this MOA, ICE officers will provide supervision of participating LEA personnel
   only as to immigration enforcement functions and for investigations conducted in conjunction to
   this authority. The LEA retains supervision of all other aspects of the employment of and
   performance of duties by participating LEA personnel.

   In the absence of a written agreement to the contrary, the policies and procedures to be utilized
   by the participating LEA personnel in exercising these authorities shall be DHS and ICE policies
   and procedures, including the ICE Use of Force Policy. However, when engaged in immigration
   enforcement activities, no participating LEA personnel will be expected or required to violate or
   otherwise fail to maintain the LEA's rules, standards, or policies, or be required to fail to abide
   by restrictions or limitations as may otherwise be imposed by law.

   If a conflict arises between an order or direction of an ICE supervisory officer or a DHS or ICE
   policy and the LEA's rules, standards, or policies, the conflict shall be promptly reported to the
   FOD in the Atlanta Field Office, or designees, and the LEA, or designee, when circumstances
   safely allow the concern to be raised. The FOD in the Atlanta Field Office and the LEA shall
   attempt to resolve the conflict.

XI. REPORTING REQUIREMENTS

   ICE does not require the LEA to provide statistical or arrest data above what is entered into
   ENFORCE; however, ICE reserves the right to request the LEA provide specific tracking data
   and/or any information, documents, or evidence related to the circumstances of a particular
   alien's arrest. ICE may use this data to compare and verify ICE's own data, and to fulfill ICE's
   statistical reporting requirements, or to assess the progress and success of the LEA's 287(g)
   program.

XII. LIABILITY AND RESPONSIBILITY

   If any participating LEA personnel are the subject of a complaint of any sort that may result in
   that individual receiving employer discipline or becoming the subject of a criminal investigation




                                                   6

     Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 22 of 37
or civil lawsuit, the LEA shall, to the extent allowed by State law, immediately notify the local
point of contact for the ICE Office of Professional Responsibility (OPR) and the FOD of the
existence and nature of the complaint. The resolution of the complaint shall also be promptly
reported to ICE. Complaints regarding the exercise of immigration enforcement authority, as
specified herein, by participating LEA personnel shall be handled as described below.

Except as otherwise noted in this MOA or allowed by Federal law, and to the extent required by
8 U.S.C. § 1357(g)(7) and (8), the LEA will be responsible and bear the costs of participating
LEA personnel with regard to their property or personal expenses incurred by reason of death,
injury, or incidents giving rise to liability.

Participating LEA personnel will be treated as Federal employees only for purposes of the
Federal Tort Claims Act, 28 U.S.C. §§ 2671-2680, and worker's compensation claims, 5 U.S.C.
§ 8101 et seq., when performing a function on behalf of ICE as authorized by this MOA. 8
U.S.C. § 1357(g)(7); 28 U.S.C. § 2671. It is the understanding of the parties to this MOA that
participating LEA personnel will enjoy the same defenses and immunities for their in-scope acts
that are available to ICE officers from personal liability arising from tort lawsuits based on
actions conducted in compliance with this MOA. 8 U.S.C. § 1357(g)(8).

Participating LEA personnel named as defendants in litigation arising from activities carried out
under this MOA may request representation by the U.S. Department of Justice. Such requests
must be made in writing directed to the Attorney General of the United States, and will be
handled in coordination with the FOD in the Atlanta Field Office. Requests should be in the
form of a written memorandum prepared by the defendant addressing each and every allegation
in the complaint, explaining as well as admitting or denying each allegation against the.
defendant. Requests for representation must be presented to the ICE Office of the Chief Counsel
at 180 Spring Street, SW Suite 332, Atlanta, GA 30303. Any request for representation and
related correspondence must be clearly marked "Subject to Attorney-Client Privilege." The
Office of the Chief Counsel will forward the individual's request, together with a memorandum
outlining the factual basis underlying the event(s) at issue in the lawsuit, to the ICE Headquarters
Office of the Principal Legal Advisor, which will forward the request, the factual memorandum,
and an advisory statement opining whether such representation would be in the interest of the
United States, to the Director of the Constitutional and Specialized Torts Staff, Civil Division,
Department of Justice. ICE will not be liable for defending or indemnifying acts of intentional
misconduct on the part of participating LEA personnel.

The LEA agrees to cooperate with any Federal investigation related to this MOA to the full
extent of its available powers, including providing access to appropriate databases, personnel,
and documents. Failure to do so may result in the termination of this MOA. Failure of an officer
to cooperate in any Federal investigation related to this MOA may result in revocation of such
individual's authority provided under this MOA. The LEA agrees to cooperate with Federal
personnel conducting reviews to ensure compliance with the terms of this MOA and to provide
access to appropriate databases, personnel, and documents necessary to complete such
compliance review. It is understood that information provided by any LEA personnel under
threat of disciplinary action in an administrative investigation cannot be used against that




                                                7


  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 23 of 37
   individual in subsequent criminal proceedings, consistent with Garrity v. New Jersey, 385 U.S.
   493 (1967), and its progeny.

   As the activities of participating LEA personnel under this MOA are undertaken under Federal
   authority, the participating LEA personnel will comply with Federal standards and guidelines
   relating to the Supreme Court's decision in Giglio v. United States, 405 U.S. 150 (1972), and its
   progeny, which relates to the disclosure of potential impeachment information about possible
   witnesses or affiants in a criminal case or investigation.

   The LEA and ICE are each responsible for compliance with the Privacy Act of 1974, as
   applicable, and related system of records notices with regard to data collection and use of
   information under this MOA. The applicable Systems of Record Notice for privacy compliance
   is the ENFORCE Systems of Records Notice, 71 FR 13987, dated March 20,2006.

XIII. COMPLAINT PROCEDURES

   The complaint reporting procedure for allegations of misconduct by participating LEA
   personnel, with regard to activities undertaken under the authority of this MOA, is included in
   AppendixB.

XIV. CIVIL RIGHTS STANDARDS

   Participating LEA personnel are bound by all Federal civil rights laws, regulations, guidance
   relating to non-discrimination, including the U.S. Department of Justice "Guidance Regarding
   The Use Of Race By Federal Law Enforcement Agencies" dated June 2003 and Title VI of the
   Civil Rights Act of 1964, as amended, 42. U.S.C. 2000 et. seq., which prohibits discrimination
   based upon race, color, or national origin (including limited English proficiency) in any program
   or activity receiving Federal financial assistance.

XV. INTERPRETATION SERVICES

   Participating LEA personnel will provide an opportunity for subjects with limited English
   language proficiency to request an interpreter. Qualified foreign language interpreters will be
   provided by the LEA, as needed.

   The LEA will maintain a list of qualified interpreters or companies it contracts with to provide
   such interpreters. Participating law enforcement personnel will be instructed on the proper
   administrative procedures to follow to obtain the services of an interpreter. A qualified
   interpreter means an interpreter who can interpret effectively, accurately, and impartially, using
   any specialized vocabulary. If an interpreter is used when a designated officer is performing
   functions under this MOA, the interpreter must be identified, by name, in records.

XVI. COMMUNICA TION

   The ICE FOD in the Atlanta Field Office, and the LEA shall meet at least annually, and as
   needed, to review and assess the immigration enforcement activities conducted by the




                                                   8

     Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 24 of 37
    participating LEA personnel, and to ensure compliance with the terms of this MOA. When
    necessary, ICE and the LEA may limit the participation of these meetings in regards to non-law
    enforcement personnel. The attendees will meet in the Atlanta Field Office at locations to be
    agreed upon by the parties, or via teleconference. The participants will be supplied with specific
    information on case reviews, individual participants' evaluations, complaints filed, media
    coverage, and, to the extent practicable, statistical information on immigration enforcement
    activity in the Atlanta Field Office. An initial review meeting will be held no later than nine
    months after certification of the initial class of participating LEA personnel under Section VIII,
    above.

XVII. COMMUNITY OUTREACH

    The LEA may, at its discretion, engage in community outreach with individuals and
    organizations expressing an interest in this MOA. ICE may participate in such outreach upon the
    LEA's request. Nothing in this MOA shall limit ICE's own community outreach program.

XVIII. RELEASE OF INFORMATION TO THE MEDIA AND OTHER THIRD PARTIES

    The LEA may, at its discretion, communicate the substance of this agreement to organizations
    and groups expressing an interest in the law enforcement activities to be engaged in under this
    MOA. It is the practice of ICE to provide a copy of this MOA, only after it has been signed, to
    requesting media outlets; the LEA is authorized to do the same.

    Except as provided herein or in any appendices hereto, the LEA hereby agrees to coordinate with
    ICE prior to releasing any information relating to or exchanged under this MOA. Except as,
    provided herein or in any appendices hereto, information obtained or developed as a result of this
    MOA is under the control of ICE and shall be subject to public disclosure only pursuant to the
    provisions of applicable federal laws, regulations, and executive orders. Insofar as any
    documents created by the LEA contain information developed or obtained as a result of this
    MOA, such documents shall not be considered public records, except as provided herein or in
    any appendices hereto.

    Except as provided herein, the release of statistical information regarding the 287(g) program
    must be coordinated with the ICE Office of Public Affairs and the LEA hereby agrees to
    coordinate with ICE regarding information to be released to the media regarding actions taken
    under this MOA. In the task force model setting, all contact with the media involving
    investigations conducted under this MOA by Task Force Officers (TFO) will be done pursuant to
    ICE policy. The points of contact for ICE and the LEA for this purpose are identified in
    Appendix C.




                                                    9


      Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 25 of 37
   It is specifically understood that notwithstanding any other term or provision of this MOA or any
   appendices thereto, nothing shall prohibit the LEA from making disclosures or providing
   information or documents to any party as required by applicable law. It is also specifically
   understood that notwithstanding any other terms or provisions of this MOA or any appendices
   thereto, the LEA is allowed to provide general statistical information to the North Carolina
   Sheriffs' Association, to any regulatory or accreditation entity having authority over the LEA, or
   to the general public. In addition, the LEA is allowed to provide any information generally
   provided in any database maintained by the LEA that is available to the general public under
   applicable state law.

      Appendix B to this MOA describes the complaint procedures available to members of the public
      regarding actions taken by participating LEA personnel pursuant to this agreement.

XIX. MODIFICATIONS TO THIS MOA

      Modifications to this MOA must be proposed in writing and approved and signed by the
      signatories. Modification to Appendix D shall be done in accordance with the procedures
      outlined in the SOP.

xx.    POINTS OF CONTACT

      ICE and LEA points of contact for purposes of this MOA are identified in Appendix A. Points
      of contact (POC) can be updated at any time by providing a revised Appendix A to the other
      party to this MOA.

XXI. DURATION AND TERMINATION OF THIS MOA

      This MOA will remain in effect for three (3) years from the date of signing unless terminated
      earlier by either party. At the expiration of the three year effective period, ICE and the LEA
      shall review the MOA and modify, extend, or permit the MOA to lapse. During the MOA's
      effective period, either party, upon written notice to the other party, may terminate the MOA at
      any time. A termination notice shall be delivered personally or by certified or registered mail
      and termination shall take effect immediately upon receipt of such notice.

      Either party, upon written or oral notice to the other party, may temporarily suspend activities
      under this MOA when resource constraints or competing priorities necessitate such suspension.
      Notice of termination or suspension by ICE shall be given to the LEA.

      Notice of termination or suspension by the LEA shall be given to the FOD in the Atlanta Field
      Office. Upon a good faith determination that the LEA is not fulfilling its duties, ICE shall notify
      the LEA, in writing, and inform the LEA that it has 90 days to demonstrate a continued need for
      287(g) program services. If this continued need is not demonstrated by the LEA, the authorities
      and resources given to the LEA pursuant to this MOA will be terminated or suspended. Upon a
      subsequent demonstration of need, all costs to reinstate access to such authorities and/or program
      services will be incurred by the LEA.




                                                      10


        Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 26 of 37
This MOA does not, is not intended to, shall not be construed to, and may not be relied upon to
create any rights, substantive or procedural, enforceable at law by any person in any matter, civil
or criminal.

By signing this MOA, each party represents it is fully authorized to enter into this MOA, accepts
the tenns, responsibilities, obligations, and limitations of this MOA, and agrees to be bound
thereto to the fullest extent allowed by law.




 John Morton
.Assistant Secretary                         Sheriff Terry Johnson
 Immigration and Customs Enforcement         Alamance County Sheriff's Office
 Department of Homeland Security             Graham, NC




                                                11


  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 27 of 37
                                         APPENDIX A

                                      POINTS OF CONTACT


The ICE and LEA points of contact for purposes of implementation of this MOA are:

For the LEA:         Terry Johnson, Sheriff
                     Alamance County Sheriff s Office
                     109 S. Maple Street
                     Graham, N      253
                     (336) 570- b6




ForICEDRO:                   b6,b7c

                     Assistant Field Office Director (Acting)
                     6130 Tyvola Centre Drive
                     Charlotte,        8217
                     (704) 672- b6,b7c




                                             12

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 28 of 37
                                         APPENDIXB

                                 COMPLAINT PROCEDURE


This Memorandum of Agreement (MOA) is between the US Department of Homeland Security's
Immigration and Customs Enforcement (ICE) and the Sheriffs Office of Alamance County,
North Carolina, hereinafter referred to as the "Law Enforcement Agency" (LEA), pursuant to
which selected LEA personnel are authorized to perform immigration enforcement duties in
specific situations under Federal authority. As such, the training, supervision, and performance
of participating LEA personnel pursuant to the MOA, as well as the protections for U.S. citizens'
and aliens' civil and constitutional rights, are to be monitored. Part of that monitoring will be
accomplished through these complaint reporting and resolution procedures, which the parties to
the MOA have agreed to follow.

The MOA sets forth the process for designation, training, certification, and authorization of
certain LEA personnel to perform certain immigration enforcement functions specified herein.
Complaints filed against those personnel in the course of their non-immigration duties will
remain the domain of the LEA and be handled in accordance with the LEA's Manual of Policy
and Procedures, or equivalent rules, regulations, or procedures.

If any participating LEA personnel are the subject of a complaint or allegation involving the
violation of the terms of this MOA or a complaint or allegation of any sort that may result in that
individual receiving employer discipline or becoming the subject of a criminal investigation or
civil lawsuit, the LEA shall, to the extent allowed by State law, immediately notify ICE of the
existence and nature of the complaint or allegation. The results of any internal investigation or.
inquiry connected to the complaint or allegation and the resolution of the complaint shall also be
promptly reported to ICE. The ICE notifications should be made to the SAC and the Office of
Professional Responsibility (OPR) points of contact in the Atlanta Field Office. Complaints
regarding the exercise of immigration enforcement authority by participating LEA personnel
shall be handled as described below.

The LEA will also handle complaints filed against LEA personnel who are not designated and
certified pursuant to this MOA but are acting in immigration functions in violation of this MOA.
Further, any such complaints regarding non-designated LEA personnel shall be forwarded to the
FOD in the Atlanta Field Office.

In order to simplify the process for the public, complaints against participating LEA personnel
relating to their immigration enforcement can be reported in the following manner "Complaint
and Allegation Reporting Procedures."




                                                13

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 29 of 37
1. Complaint and Allegation Reporting Procedures

Complaint reporting procedures shall be disseminated by the LEA within facilities under its
jurisdiction (in English and other languages as appropriate) in order to ensure that individuals are
aware of the availability of such procedures. Such reporting procedures shall also be included
within facility manuals for detainees who have been processed under the 287(g) program. Such
material must include up-to-date contact information necessary to file the complaint.

Complaints will be accepted from any source (e.g., ICE, LEA, participating LEA personnel,
inmates, and the public). ICE will immediately forward a copy of the complaint to the DHS
Office for Civil Rights and Civil Liberties (CRCL) Review and Compliance.

Complaints can be reported to Federal authorities as follows:

               A. Telephonically to the DHS Office of the Inspector General (DRS OIG) at the
                  toll free number 1-800-323-8603, or

               B. Telephonically to the ICE OPR at the Joint Intake Center (nC) in
                  Washington, D.C., at the toll-free number 1-877-246-8253, email
                  ]oint.lntake@dhs.gov, or

               C. Via mail as follows:
                        Department of Homeland Security
                        Immigration and Customs Enforcement
                        Office of Professional Responsibility
                        P.O. Box 14475
                        Pennsylvania Avenue NW
                        Washington D.C. 20044

2. Review of Complaints

All complaints or allegations (written or oral) reported to the LEA directly that involve LEA
personnel with ICE delegated authority will be reported to ICE OPR. ICE OPR will verify
participating personnel status under the MOA with the assistance of the SAC of the ICE Office
of Investigations in the Atlanta Field Office. Complaints received by any ICE entity will he
reported directly to ICE OPR as per existing ICE policies and procedures.

ICE OPR, as appropriate, will make an initial determination regarding ICE investigative
jurisdiction and refer the complaint to the appropriate ICE office for action as soon as possible,
given the nature of the complaint.

Complaints reported directly to ICE OPR will be shared with the LEA's Internal Investigations
Unit when the complaint involves LEA personnel. Both offices will then coordinate appropriate
investigative jurisdiction, which may include initiation of a joint investigation to resolve the
issue(s).




                                                 14


   Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 30 of 37
3. Complaint and Allegations Resolution Procedures

Upon receipt of any complaint or allegation, ICE OPR will undertake a complete review of each
complaint in accordance with existing ICE allegation criteria and reporting requirements. As
stated above, the ICE OPR will adhere to the reporting requirements as stated above and as they
relate to the DHS OIa and CRCL and/or the DOJ CRD. Complaints will be resolved using the
existing procedures, supplemented as follows:

               A. Referral of Complaints or Allegations to the LEA's Internal Investigations
                  Unit.

               The ICE OPR will refer complaints, as appropriate, involving LEA personnel to
               the LEA's Internal Investigations Unit for resolution. The facility commander
               will inform ICE OPR of the disposition and resolution of any complaints or
               allegations against LEA's participating officers.

               B. Interim Action Pending Complaint Resolution

               When participating LEA personnel are under investigation for any reason that
               could lead to disciplinary action, demotion, or dismissal, or are alleged to have
               violated the terms of this MOA, ICE may revoke that individual's authority and
               have that individual removed from participation in the activities covered under the
               MOA.

               C. Time Parameters for Resolution of Complaints or Allegations

               It is expected that any complaint received will be resolved within 90 days of
               receipt. However, this will depend upon the nature and complexity of the
               substance of the complaint itself.

               D. Notification of Resolution of a Complaint or Allegation

               ICE OPR will coordinate with the LEA's Internal Investigations Unit to ensure
               notification as appropriate to the ICE SAC in the Atlanta Field Office, the
               subject(s) of a complaint, and the person filing the complaint regarding the
               resolution of the complaint.

These Complaint Reporting and Allegation Procedures are ICE's internal policy and may be
supplemented or modified by ICE unilaterally, ICE will provide LEA with written copies of any
such supplements or modifications. These Complaint Reporting and Allegation Procedures
apply to ICE and do not restrict or apply to other investigative organizations within the federal
government.




                                               15


  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 31 of 37
                                         APPENDIXC

                    PUBLIC INFORMATION POINTS OF CONTACT


Pursuant to Section XVIII of this MOA, the signatories agree to coordinate appropriate release of
information to the media regarding actions taken under this MOA before any information is
released. The points of contact for coordinating such activities are:

For the LEA:

Public Affairs Officer Lt. Randy Jones
Alamance County Sheriff s Office
109 S. Maple Street
Graham, NC 27253
Office: (336) 570-6313
Email: randy.jones@alamance-nc.com

For ICE:

Public Affairs Officer Ivan L. Ortiz-Delgago
Office of Public Affairs and Internal Communication
u.S. Department of Homeland Security
U.S. Immigration and Customs Enforcement
San Juan, Puerto Rico 00908
Office: (787) 729-5196
Mobile: (787) 370-8123
Email: ivan.ortiz@dhs.gov




                                               16

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 32 of 37
                                          APPENDIXD

                  STANDARD OPERATING PROCEDURE (SOP) TEMPLATE

The purpose of this appendix is to establish standard, uniform procedures for the implementation
and oversight of the 287(g) delegation of authority program within the Field Office Director
(FOD) area of responsibility. This appendix can only be modified in writing with mutual
acceptance of the FOD, Alamance County Sheriff, and the OSLC/OPLA.

There are two models for the 287(g) program, a Task Force Officer (TFO) model or a Detention
model. Pursuant to this MOA, LEA has been delegated authorities under the Detention model as
outlined below.

Prioritization:

ICE retains sole discretion in determining how it will manage its limited resources and meet its
mission requirements. To ensure resources are managed effectively, ICE requires the LEA to
also manage its resources dedicated to 287(g) authority under the MOA. To that end, the
following list reflects the categories of aliens that are a priority for arrest and detention with the
highest priority being Levell criminal aliens. Resources should be prioritized to the following
levels:

        o Level 1 - Aliens who have been convicted of or arrested for major drug offenses
        and/or violent offenses such as murder, manslaughter, rape, robbery, and kidnapping;
        o Level 2 - Aliens who have been convicted of or arrested for minor drug offenses
        and/or mainly property offenses such as burglary, larceny, fraud, and money laundering;
        and
        o Level 3 - Aliens who have been convicted of or arrested for other offenses.
ICE requires that the LEA prioritize its resources dedicated to 287(g) authority under the MOA
in the same order of priority that ICE manages its resources. However, nothing in the MOA or
any appendices to the MOA shall require the LEA to deviate from standard LEA arrestee
screening functions, including screening any arrestees for country of birth and citizenship,
regardless of the level of charge against such individual.

Training:

The 287(g) training program, the Immigration Authority Delegation Program (IADP), will be
taught by ICE instructors and tailored to the immigration functions to be performed. ICE Office
of Training and Development (OTD) will proctor examinations during the IADP. The LEA
nominee must pass each examination with a minimum score of 70 percent to receive
certification. If the LEA nominee fails to attain a 70 percent rating on an examination, the LEA
nominee will have one opportunity to remediate the testing material and re-take a similar
examination. During the entire duration of the IADP, the LEA nominee will be offered a
maximum of one remediation examination. Failure to achieve a 70 percent on any two
examinations (inclusive of any remediation examination), will result in the disqualification of the
LEA nominee and their discharge from the IADP.




                                                 17

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 33 of 37
Training will include, among other topics: (i) discussion of the terms and limitations of this
MOA; (ii) the scope of immigration officer authority; (iii) relevant immigration law; (iv) the ICE
Use of Force Policy; (v) civil rights laws; (vi) the U.s. Department of Justice "Guidance
Regarding the Use Of Race By Federal Law Enforcement Agencies," dated June 2003; (vii)
public outreach and complaint procedures; (viii) liability issues; (ix) cross-cultural issues; and (x)
the obligation under Federal law and the Vienna Convention on Consular Relations to make
proper notification upon the arrest or detention of a foreign national.

Approximately one year after the participating LEA personnel are trained and certified, ICE may
provide additional updated training on relevant administrative, legal, and operational issues
related to the performance of immigration officer functions. Local training on relevant issues
will be provided as needed by ICE supervisors or designated ICE team leaders. An OSLC
designated official shall, in consultation with OTD and local ICE officials, review on an annual
basis and, if needed, refresh training requirements.

Trained LEA personnel will receive, as needed, a DHS email account and access to the necessary
DHS applications. The use of the information technology (IT) infrastructure and the DHSIICE
IT security policies are defined in the Interconnection Security Agreement (ISA). The ISA is the
agreement between ICE Chief Information Security Officer (CISO) and LEA Designated
Accreditation Authority (DAA). LEA agrees that each of its sites using ICE-provided network
access or equipment will sign the ISA, which defmes the IT policies and rules of behavior for
each user granted access to the DHS network and applications. Failure to adhere to the terms of
the ISA could result in the loss of all user privileges.

Data Collection:

ENFORCE is the primary processing system for alien removals and is the main resource for
statistical information for the 287(g) program. All ENFORCE entries must be completed in
accordance with established ICE polices and adhere to OSLC guidance.

ICE does not require the LEA to provide statistical or arrest data above what is entered into
ENFORCE; however, ICE reserves the right to request specific tracking or arrest data be
maintained and provided for comparison and verification with ICE's own data and statistical
information. This data may also be used for ICE's statistical reporting requirements or to assess
the progress and success of the LEA's 287(g) program.

The LEA and ICE are each responsible for compliance with the Privacy Act of 1974, as
applicable, and related system of records notices with regard to data collection and use of
information under this MOA. The applicable Systems of Record Notice for privacy compliance
is the ENFORCE Systems of Records Notice, 71 FR 13987, dated March 20,2006.




                                                 18

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 34 of 37
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        DETENTION MODEL:

        Participating LEA personnel performing immigration-related duties pursuant to this MOA will
        be LEA officers assigned to detention operations supported by ICE. Those participating LEA
        personnel will exercise their immigration-related authorities only during the course of their
        normal duties while assigned to LEA jail/correctional facilities. Participating LEA personnel
        will identify and remove criminal aliens that reside within the LEA's jurisdiction pursuant to the
        tiered level of priorities set forth in Appendix D's "Prioritization" section.

        The participating LEA personnel are authorized to perform the following functions as allowed by
        287(g) of the INA for the Detention Model:

            •   The power and authority to interrogate any person believed to be an alien as to his right
                to be or remain in the United States (INA § 287(a)(l) and 8 C.F.R. § 287.5(a)(l» and to
                process for immigration violations any removable alien or those aliens who have been
                arrested for violating a Federal, State, or local offense;

            •   The power and authority to serve arrest warrants for immigration violations pursuant to
                INA § 287(a) and 8 C.F.R. § 287.5(e)(3);

            •   The power and authority to administer oaths and to take and consider evidence (INA §
                287(b) and 8 C.F.R. § 287.5(a)(2»), to complete required criminal alien processing,
                including fingerprinting, photographing, and interviewing of aliens, as well as the
                preparation of affidavits and the taking of sworn statements for ICE supervisory review; ,

            •   The power and authority to prepare charging documents (INA § 239, 8 C.F.R. § 239.1;
                INA § 238, 8 C.F.R § 238.1; INA § 241(a)(5), 8 C.F.R § 241.8; INA § 235(b)(I), 8
                C.F.R. § 235.3) including the preparation of a Notice to Appear (NTA) application or
                other charging document, as appropriate, for the signature of an ICE officer for aliens in
                categories established by ICE supervisors;

            •   The power and authority to issue immigration detainers (INA § 236, INA § 287, and 8
                C.F.R. § 287.7) and 1-213, Record of Deportabiellnadmissible Alien, for processing
                aliens in categories established by ICE supervisors; and

            •   The power and authority to detain and transport (INA § 287(g)(l) and 8 C.F.R. §
                287.5(c)(6» arrested aliens subject to removal to ICE-approved detention facilities.

        As noted under Appendix D's "Prioritization" section, ICE requires the LEA to focus its use of
        the 287(g) program in accord with ICE's priorities.

        ICE does not currently deem that an IGSA is necessary with [jurisdiction] nor does ICE envision
        the necessity of such IGSA in the near future. If ICE does make a future determination that an
        IGSA is necessary with Ourisdiction], ICE will consult with LEA and, upon mutual agreement of
        ICE and the LEA, sign an IGSA pursuant to standard IGSA formation procedures.




                                                        19

          Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 35 of 37
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          Supervision:

          Any reference in the MOA or any appendices thereto, to "task force officers" shall not be
          interpreted to mean that any LEA officers given task force officer certification/classification by
          ICE will perform ICE functions in the general community. It is specifically understood that the
          only ICE functions LEA personnel will perform will be those that pertain solely and exclusively
          to the LEA detention facilities. No term or condition in the MOA or any appendices thereto shall
          be interpreted to reduce or limit the detention functions assigned to LEA ICE personnel within
          the confines of the LEA detention facility, regardless of the ICE certifications/classifications or
          titles provided to such LEA officers.

          The LEA must immediately report all detention facility encounters with LEA ICE personnel of
          an individual who wrongfully claims U.S. citizenship, to the FOD through their chain of
          command.


          A 287(g) delegation of authority detention model is designed to identify and remove aliens
          amenable to removal that are incarcerated within the LEA's detention facilities pursuant to the
          tiered level of priorities set forth in Appendix D's "Prioritization" section. The following
          identifies each entity's roles and responsibilities. These roles and responsibilities include, but
          are not limited to:

          The LEA shall provide notification to the ICE supervisor of any detainers placed under 287(g)
          authority within 24 hours.

          The LEA shall coordinate transportation of detainees processed under 287(g) authority in a
          timely manner, in accordance with the MOA andlor IGSA.

          The LEA is responsible for ensuring proper record checks have been completed, obtaining the
          necessary court/conviction documents, and, upon arrest, ensuring that the alien is processed
          through ENFORCEIIDENT and served with the appropriate charging documents.

          The LEA must immediately report all encounters of an individual who claims U.S. citizenship to
          the FOD through their chain of command. The FOD shall make the appropriate notification to
          DRO headquarters.

          The ICE supervisor is responsible for requesting alien files, reviewing alien files for
          completeness, approval of all arrests, and TECS checks and input. The FOD office is
          responsible for providing the LEA with current and updated DHS policies regarding the arrest
          and processing of illegal aliens.

          On a regular basis, the ICE supervisors are responsible for conducting an audit of the
          IDENTIENFORCE computer system entries and records made by the LEA's officers. Upon
          review and auditing of the IDENTIENFORCE computer system entries and records, if errors are
          found, the ICE supervisor will communicate those errors in a timely manner to the responsible




                                                           20


            Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 36 of 37
official for LEA. The ICE supervisor will notify the LEA of any errors in the system and the
LEA is responsible for sUbmitting a plan to ensure that steps are taken to correct, modify, or
prevent the recurrence of errors that are discovered.

Nominated Personnel:

All LEA jail enforcement officer candidates shall have specific experience that should consist of
having supervised inmates. Candidates must show that they have been trained on and concerned
with maintaining the security of the facility. Candidates must have enforced rules and regulations
governing the facility on inmate accountability and conduct. Candidates must also show an
ability to meet and deal with people of differing backgrounds and behavioral patterns.

ICE and the LEA hereby agree that so long as an individual trained for ICE functions is
employed by the LEA, the LEA will use reasonable efforts not to reassign such individual for a
minimum period of two years.

Complaint Procedure:

No term or condition in the MOA or any appendices thereto shall require the LEA to report any
information to ICE or any other party in violation of state law.

Interpretation Services:

Participating LEA personnel will provide an opportunity for subjects with limited English
language proficiency to request an interpreter and will be instructed on the proper administrative   I


procedures to follow to obtain the services of an interpreter when the need arises. In these
instances, designated LEA personnel will work closely with the designated ICE Supervisor,
Acting Supervisor or Team Leader to utilize existing ICE interpretation services, when
appropriate, at no cost to the LEA.

Release of Information to the Media and Other Third Parties:

With respect to Section XVIII, above, related to the release of information to the media and other
third parties, the LEA will take into reasonable consideration any potential negative impact the
release of the particular information may cause to ICE. Further, the LEA will specifically take
into reasonable consideration, 8 C.F .R. § 236.6 involving information regarding detainees.




                                                21

  Case 1:12-cv-01349-TDS-JLW Document 89-4 Filed 03/03/14 Page 37 of 37
